Case 3:06-cV-00252-B Document 13-4 Filed 06/14/06 Page 1 of 5 Page|D 60

EXHIBIT C

 

CSSUKAZB

CURRENT STATUS: RECEIVED FROM TEMPORARY DEPART
SEL ACTN DATE

04-26-2006
04-25~2006
02-22-2006
02~21-2006
06-05~2004
03-03-2004
03-02-2004
08-23-2002
08-22-2002
05-08-2002
05-07-2002
08-21~1998
08-20~1998

PFl=HELP~

PF€=REFRESH
PFlO=CROSS REF PFlZ=TDCJ MENU
THERE ARE MORE MINUTES RECORDS TO BE DISPLAYED

PROCESS
CURRENTLY AN INMATE
CURRENTLY AN INMATE
REVIEW PROCESS
REVIEW PROCESS
CURRENTLY AN INMATE
REVIEW PROCESS
REVIEW PROCESS
cURRENTLY AN INMATE
cURRENTLY AN INMATE
REV:EW PROCESS
REVIEW PROCESS
CURRENTLY AN INMATE
CURRENTLY AN INMATE

PFz=BOARD ACTIONS MENU PFS=DETAIL
PFS=SCROLL FORWARD
cLEAR=EXIT '

PF7=SCROLL BACK

ACTN
STLTR
NR
NTO
CASEP
RFPR
NTO
CASEP
STLTR
NR
NTO
CASEP
STLTR
NR

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CLEMENCY AND PAROLE SYSTEM 06/14/06
MINUTES BROWSE SCREEN
'TDCJID NUMBER: 00517349 SID NUMBER: 01758093 PIA NUMBER:
BPP NUMBER: 0000026846 NAME: CARSON,ARTHUR WAYNE

TYPE OF ACTION
TP DATE STATUS LTR
RECORD HAS NO ACTION TYPE
BOARD vOTE
MONTHLY cASE PULL
BOARD POLICY - DISCIPLINARY
BOARD vOTE
MONTHLY cASE PULL
TP DATE'STATUS LTR
RECORD HAS NO ACTION TYPE
BQARD vOTE
MONTHLY cASE PULL
TP DATE STATUS LTR,
RECORD HAS NO ACTION TYPE
PF3=CAPS MENU

  

 

 

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CLEMENCY AND PAROLE SYSTEM 06/14/06
MINUTES BROWSE SCREEN `

TDCJID NUMBER: 00517349 SID NUMBER: 01758093 PIA NUMBER:
BPP NUMBER:»0000026846 NAME: CARSON,ARTHUR WAYNE~

CURRENT STATUS: RECEIVED FROM TEMPORARY DEPART

SEL ACTN DATE PROCESS ACTN TYPE OF ACTION

_ 08-20-1998 CURRENTLY AN INMATE NR RECORD HAS NO ACTION TYPE

_ 05-06~1998 REVIEW PROCESS v NTO BOARD VOTE

w v05-05-1998 REVIEW PROCESS CASEP MONTHLY CASE PULL

v 02-15-1994 CURRENTLY AN INMATE STLTR TP DATE STATUS LTR

_ 01-27-1994 CURRENTLY AN INMATE CRD RECORD HAS NO ACTION TYPE

_ 08-03-1993 REVIEW PROCESS NTO BOARD VOTE

_ 08-03~1993 REVIEW PROCESS CASEP MONTHLY CASE PULL

_ 07-02-1991 CURRENTLY AN INMATE CRD PAROLE REVIEW

_ 03-06-1991 REVIEW_PROCESS NTO BOARD VOTE

w 03-06-1991 REVIEW PROCESS CASEP MONTHLY CASE PULL

_ 09-29-1990 CURRENTLY AN INMATE NOTE 000 - TYPE ACTION NOT FOUND
_ 07-07-1990 CURRENTLY AN INMATE NOTE 000 - TYPE ACTION NOT FOUND
~ 05-26-1990 CURRENTLY AN INMATE NOTE 4 000 ~ TYPE ACTION NOT FOUND
PFl=HELP l PFZ=BOARD ACTIONS MENU PFB=DETAIL PF3=CAPS MENU
PFG=REFRESH PF7=SCROLL BACK PFS=SCROLL FORWARD

PFlO=CROSS REF PFlZ=TDCJ MENU CLEAR=EXIT

THERE ARE MORE MINUTES RECORDS TO BE VIEWED

 

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CLEMENCY AND PAROLE SYSTEM 06/14/06
MINUTES BROWSE SCREEN
TDCJID NUMBER: 00517349 SID NUMBER§ 01758093
BPP NUMBER: 0000026846 NAME: CARSON,ARTHUR WAYNE
CURRENT STATUS: RECEIVED FROM TEMPORARY DEPART

PIA NUMBER:

 

SEL ACTN DATE PROCESS ACTN TYPE 0F ACTION

_ 05-25-1990 cURRENTLY AN INMATE NOTE 000 - TYPE ACTION NOT FOUND

_ 11-01~1989 cURRENTLY AN INMATE STAFF PAROLE vIOLAToR-NEW TDC NUMB §&

_ 12-28-1989 REVOCATION NA INMATE b .§5

_ 10-18-1989 REVQCATION PROC REVOKE NEW cONvIcTION T0 TEX “

“ 10-18-1989 REVOCAT:ON APP REVOKE NEW coNvIcTION'TO TEX

_ 10-18-1989 REVOCAT:ON REC REVOKE NEW coNv:cT:oN T0 TEX

_ 05-25-1989 CURRENTLY A PAROLEE 0R MS NOTE cHANGE PROCESS TYPE-GENERATE

~ 06-26-1989 ARREST WARRANT wDF: 000 - TYPE ACTION NOT FOUND

_ 05~25-1989 ARREST WARRANT ABSC RETURNED FROM ABSCONDER T0 A

v 10-10-1988 ARREST WARRANT ABSC DECLARED ABSCONDER

_ 07-21-1988 ARREST wARRANT APP 000 - TYPE ACTION NOT FOUND
07-21-1988 ARREST wARRANT ’ REC 000 - TYPE ACTION NOT FOUND

_ 09-15-1986 CURRENTLY A PAROLEE OR MS PARL INSTATE
PFl=HELP PFZ=BOARD ACTIONS MENU PFB=DETAIL
PF€=REFRESH PF7=SCROLL BACK PFS=SCROLL FORWARD
PFlO=CROSS REF PFlZ=TDCJ MENU CLEAR=EXIT

THERE ARE MORE MINUTES RECORDS TO BE VIEWED

PF3=CAPS MENU

 

 

 

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CLEMENCY AND PAROLE SYSTEM 06/14/06
. MINUTES BROWSE SCREEN
TDCJID NUMBER: 00517349 SID NUMBER: 01758093 PIA NUMBER:
BPP NUMBER: 0000026846 NAME: CARSON,ARTHUR WAYNE
CURRENT STATUS:
SEL ACTN DATE PROCESS ` ACTN TYPE OF ACTION

09~15-1986 CURRENTLY A PAROLEE OR MS PARL INSTATE
09-11-1986 MAND. SUPERVISION PROC PROC INSTATE

_ 06-18-1986 REVIEW PROCESS CASEP MONTHLY CASE PULL

_ 06-09-1906 CURRENTLY AN INMATE NOTE CALCULATE STATUS~GENERATED
PFl=HELP PFZ=BOARD ACTIONS MENU PFB=DETAIL PF3=CAPS MENU
PF€=REFRESH PF7=SCROLL BACK PFS=SCROLL FORWARD

PFlO=CROSS REF PFlZ=TDCJ MENU CLEAR=EXIT

THE LAST MINUTE RECORDS ARE DISPLAYED

 

 

